                                                  Case 19-50625-jwc                      Doc 81     Filed 07/30/20 Entered 07/30/20 18:36:24                                       Desc
                                                                                                        Page 1 of 2
                                                                                          Form 1
                                                                                                                                                                                                                Page: 1
                                                                      Individual Estate Property Record and Report
                                                                                       Asset Cases
Case No.:      19-50625-JWC                                                                                                                      Trustee Name:        (300320) S. Gregory Hays
Case Name:        ALLEN, JANIS RILEY                                                                                                             Date Filed (f) or Converted (c): 10/18/2019 (c)
                                                                                                                                                 § 341(a) Meeting Date:       11/19/2019
For Period Ending:         06/30/2020                                                                                                            Claims Bar Date: 06/01/2020

                                                       1                                                 2                              3                            4                      5                          6

                                              Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                   (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                       Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                          and Other Costs)                                                             Remaining Assets

    1        2723 Candler Lane SW, Marietta, GA 30064-0000, Cobb County                                      164,220.00                         35,040.87            OA                                 0.00                        FA

    2        2009 Audi 3.2 AWD                                                                                11,750.00                               0.00           OA                                 0.00                        FA

    3        2012 Land Rover LR2                                                                              13,050.00                               0.00           OA                                 0.00                        FA

    4        2016 Chrysler 200                                                                                15,583.31                            113.31            OA                                 0.00                        FA

    5        Household Goods                                                                                   2,500.00                               0.00                                              0.00                        FA

    6        Electronics                                                                                          750.00                              0.00                                              0.00                        FA

    7        Clothes                                                                                              500.00                              0.00                                              0.00                        FA

    8        Jewelry                                                                                              400.00                              0.00                                              0.00                        FA

    9        Checking: Bank of America                                                                            550.00                              0.00                                              0.00                        FA

    10       Checking: Chase                                                                                        0.00                              0.00                                              0.00                        FA

    11       Checking: LGE Credit Union                                                                            65.00                              0.00                                              0.00                        FA

    12       401: Employers                                                                                   53,000.00                               0.00                                              0.00                        FA

    13       One-Third Interest - Property in Cherokee County, GA located on Belletta Drive                   44,049.00                         41,349.00                                               0.00                44,049.00
             and Canton Street (u)
             Debtor is sole heir to her mother's estate which has one-third interest in property.
             Value shown is the county assessed value.

   13        Assets                Totals       (Excluding unknown values)                               $306,417.31                           $76,503.18                                           $0.00                  $44,049.00



         Major Activities Affecting Case Closing:
                                         Case was converted from Chapter 13 on 10/18/19. The Debtor owns a one-third interest in a property as the sole heir to her mother's estate. The
                                         Trustee has been unsuccessful in contacting the one living co-owner of the property for a possible sale. Trustee intends to file complaint against co-
                                         owners to force sale.

         Initial Projected Date Of Final Report (TFR):                        06/30/2022                                    Current Projected Date Of Final Report (TFR):                       06/30/2022
                                    Case 19-50625-jwc   Doc 81   Filed 07/30/20 Entered 07/30/20 18:36:24                Desc
                                                                     Page 2 of 2
                                                                 Form 1
                                                                                                                                                Page: 2
                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case No.:    19-50625-JWC                                                                     Trustee Name:     (300320) S. Gregory Hays
Case Name:     ALLEN, JANIS RILEY                                                             Date Filed (f) or Converted (c): 10/18/2019 (c)
                                                                                              § 341(a) Meeting Date:   11/19/2019
For Period Ending:     06/30/2020                                                             Claims Bar Date: 06/01/2020


             07/30/2020                                                        /s/S. Gregory Hays

                Date                                                           S. Gregory Hays
